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UNITED STATES BANKRUPTCY COURT

 

 

 

 

SOUTHERN DISTRICT OF TEXAS Clear All Fields |
CORPUS CHRISTI DIVISION
In re: GLOBAL GEOPHYSICAL SERVICES, LLC, et § Case No. 16-20306
al., §
§

BeGron) § (7 Jointly Administered
Post-confirmation Report Chapter 11
Quarter Ending Date: 06/30/2021 Petition Date: 08/03/2016
Plan Confirmed Date: 09/16/2016 Plan Effective Date: 10/03/2016

This Post-confirmation Report relates to: @: Reorganized Debtor
C: Other Authorized Party or Entity:

 

Name of Authorized Party or Entity

/s/ S du Vv. bn Sean M. Gore

Signature of Responsible Party Printed Name of Responsible Party

10/07/2021 ;
Date p

vt

 

P.O. Box 316, Barker, Texas 77413
Address

STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5CER.
§ 1320.4(a)(2) applies.

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Debtor's Name GLOBAL GEOPHYSICAL SERVICES, LLC, et al.,

Case No.

16-20306

 

Part 1: Summary of Post-confirmation Transfers

a. Total cash disbursements
b. Non-cash securities transferred
c. Other non-cash property transferred

d. Total transferred (at+b+c)

Preconfirmation Professional Fees and Expenses

Current Quarter

Total Since

Effective Date

 

 

 

$202,642 $6,318,403
$0 $0
$0 $0
$202,642 $6,318,403

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Approved Approved | Paid Current Paid
Current Quarter] Cumulative Quarter Cumulative
a. Professional fees & expenses (bankruptcy)
incurred by or on behalf of the debtor Aggregate Total
ltemized Breakdown by Firm
Add Firm Name Role
Delete |i
Delete |ii
Approved Approved | Paid Current Paid
Current Quarter} Cumulative Quarter - Cumulative
b. Professional fees & expénses (nonbankruptcy)
incurred by or on'behalfiof the debtor Aggregate Total _ a
Htemized Breakdown by Firm
Add Firm Name Role
Delete |i
Delete |i
G. All professional fees and expenses (debtor & committees)
Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
Total
Anticipated % Paid of
Payments Paid Current Allowed
Under Plan Quarter Paid Cumulative Allowed Claims Claims
a. Administrative claims $0 $0 $0 $0 0%
b. Secured claims $6,000,000 $0 $1,500,000 $0 0%
c. Priority claims $0 $0 $0 $0 0%
d. General unsecured claims $41,443,489 $0 $832,677 $0 0%
e. Equity interests $0 $0 $0

 

 

Part 4: Questionnaire

a. Is this a final report?

If yes, give date Final Decree was entered:

If no, give date when the application for Final Decree is anticipated:

b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?

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Yes@ No
Yes @ No

 
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Debtor's Name GLOBAL GEOPHYSICAL SERVICES, LLC, et al., Case No. 16-20306

Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).

I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments. if
any, are true and correct and that I have been authorized to sign this report.

at vf
sr. ry). Eck Sean M. Gore

 

 

 

 

 

 

Signature of Responsible Party Printed Name of Responsible Party
President & Chief Executive Officer 10/07/2021
Title Date
Save Generate PDF for Court Filing
and Remove Watermark

 

 

 

 

 

 

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